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        Attorneys for Plaintiff Craig Lowenberg

                                                             IN THE UNITED STATES DISTRICT COURT

                                                                   FOR THE DISTRICT OF OREGON

                                                                          PORTLAND DIVISION

        CRAIG LOWENBERG,

                                                             Plaintiff,
                                                                                                Civil No.:
                            v.
                                                                                   COMPLAINT
        B. YOUNG RV, an Oregon company,
        TIFFIN MOTOR HOME, INC., an                                                (Breach of Contract; Breach of the
        Alabama corporation, COMMAND                                               Implied Covenant of Good Faith and
        ELECTRONICS, INC., a Michigan                                              Fair Dealing; Strict Liability for
        corporation, and RLI INSURANCE                                             Product Defects; Strict Liability for
        COMPANY, an Illinois corporation,                                          Failure to Warn; Negligence; Violation
                                                                                   of the Oregon Unfair Trade Practices
                                                             Defendants.           Act)

                                                                                   DEMAND F O R J U R Y T R I A L


                               COMES NOW Plaintiff Craig Lowenberg, by and through his attorneys,

          Maloney Lauersdorf Reiner, PC, and for his complaint against Defendants

          B. Young RV, Tiffin Motor Home, Inc., Command Electronics, Inc., and RLI

          Insurance Company, alleges and claims as follows:

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                                                        I. PARTIES

                     1.          Plaintiff Craig Lowenberg ("Plaintiff) is a citizen of the state of

        Alaska.

                    2.           Defendant B. Young RV ("Young") is, and at all times material to

         this action was, a business authorized to operate under the laws of the state of

         Oregon. Young maintains its principal place of business in Milwaukie, Oregon,

         and regularly conducts the business of selling recreational motor home vehicles

         in Oregon.

                     3.          Defendant Tiffin Motor Home, Inc. ("Tiffin") is, and at all times

         material to this action was, a corporation organized under the laws of the state

         of Alabama. Tiffin's principal place of business is i n Red Bay, Alabama, and

         Tiffin regularly conducts the business of selling recreational motor home

         vehicles i n Oregon.

                     4.          Defendant Command Electronics, Inc. ("Command") is, and at all

         times material to this action was, a corporation organized under the laws of the

         state of Michigan. Command maintains its principal place of business i n

         Schoolcraft, Michigan, and regularly conducts the business of designing,

         manufacturing, and selling electrical components that are installed i n

         recreational motor home vehicles sold i n Oregon.

                     5.          Defendant RLI Insurance Company ("RLI") is, and at all times

         material to this action was, a corporation organized under the laws of the state

          of Illinois. RLI maintains its principal place of business in Peoria, Illinois, and

          regularly conducts the business of insurance i n Oregon.

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                                                      II. JURISDICTION AND VENUE

                          6.             Jurisdiction is proper pursuant to 28 U.S.C. § 1332 because the

           amount in controversy exceeds $75,000, exclusive of interest and costs, and

           the action is between citizens of different states.

                          7.             Venue is proper i n this Court pursuant to 28 U.S.C. § 1391 and

           LR 3-2 because all or a substantial part of the events or omissions underlying

           Plaintiffs claims occurred i n this district and i n the Portland Division.

                                                       III. FACTUAL ALLEGATIONS

                           8.             Plaintiff owns a 2011 Tiffin Phaeton motor home ("the motor

           home").

                           9.             Tiffin manufactured Plaintiffs motor home and then placed it in

           the stream of commerce.

                            10.           The motor home included LED clearance lights that were

            manufactured and placed in the stream of commerce by Command, and

            installed by Tiffin near the rear carriage of the motor home.

                            11.            In 2 0 1 1 , Plaintiff purchased the motor home new from Young i n
            Milwaukie, Oregon.
                            12.            On or about February 10, 2014, while Plaintiff was driving the

            motor home southbound on Interstate 5 near Ashland, Oregon, a fire occurred

            in the rear carriage area of the motor home ("the Fire").

                            13.            The Fire was caused by a design and/or manufacturing defect in

             the LED clearance lights designed and manufactured by Command, installed i n

             the motor home by Tiffin, and sold to Plaintiff by Young.


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                    14.          The Fire, which rendered the motor home inoperable and

        uninhabitable, caused significant damage to the rear carriage area of the motor

        home and smoke damage throughout the interior of the motor home.

                    15.          In 2 0 1 1 , the motor home caught fire i n a similar manner.

                    16.          Following the 2011 fire, Plaintiff took the motor home to Young for

        repairs.
                    17.          Young represented to Plaintiff that it had repaired the motor home

        following the 2011 fire, and provided Plaintiff with an extended warranty on the

        motor home and the repairs performed.

                     18.         Upon information and belief, an inspection of the motor home

        following the Fire revealed that, unbeknownst to Plaintiff, the motor home also

        caught fire sometime between the 2011 fire and the Fire.
                     19.         R U issued a policy of insurance, Policy No. RRV 0042408-01 ("the

         Policy"), to Plaintiff.
                     20.         The Policy was issued for valuable consideration i n the form of

         premiums, which were paid by Plaintiff.
                     21.         Pursuant to the Policy, R U insured Plaintiffs motor home and

         agreed to indemnify and reimburse Plaintiff for certain losses and expenses,

         including damage to the motor home and loss of use of the motor home.

                     22.         The Policy was i n f u l l force and effect at the time of the Fire.

                     23.         The damage sustained to Plaintiffs motor home as a result of the

         Fire falls within the coverage provided by the Policy.

                     24.          Pursuant to the terms of the Policy, Plaintiff sought

          indemnification and reimbursement for all damages, including expenses



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        incurred by Plaintiff as a result of the damage and Plaintiffs loss of use of the

        motor home.

                    25.          Plaintiff has performed and satisfied all conditions precedent to

        recovery under the Policy.

                    26.          RLI acknowledged that the damage to Plaintiffs motor home falls

        within the coverage provided by the Policy, b u t refuses to fully indemnify and

        reimburse Plaintiff.

                     27.         Plaintiff has been without the use and enjoyment of the motor

         home since the date of the Fire.

                     28.         As a result of RLI's refusal to properly indemnify Plaintiff, the

         motor home has sustained and continues to sustain additional damage caused

         by, among other things, exposure to the elements and lack of regular and

         routine maintenance.

                                               F I R S T CLAIM FOR R E L I E F

                                                   (Breach of Contract)

                                             (Against RLI Insurance     Company)

                     29.         Plaintiff restates and incorporates herein by reference the

         allegations set forth i n paragraphs 1-28 above.

                     30.         RLI's refusal to fully indemnify Plaintiff for its covered loss is a

         breach of the insurance contract.

                     31.         As a result of RLI's breach of the insurance contract, Plaintiff has

          sustained actual and consequential damages i n an amount to be proven at

          trial.

                      32.        Plaintiff is entitled to recover his attorney fees pursuant to

          ORS 742.061.
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                                               SECOND CLAIM FOR R E L I E F

                    (Breach of the Implied Covenant of Good Faith and Fair Dealing)

                                              (Against RLI Insurance     Company)

                      33.         Plaintiff restates and incorporates herein by reference the

         allegations set forth i n paragraphs 1-32 above.

                      34.         The terms of the insurance contract required RLI to act in good

         faith and deal fairly with Plaintiff i n all matters related to the insurance

         contract, including the investigation, adjustment, and payment of Plaintiffs

         covered losses.

                      35.         RLI breached its duty of good faith and fair dealing by, among

         other things:

                                  a.    failing or refusing to fully and promptly investigate and

         ascertain the scope of Plaintiff's losses;

                                  b.    failing or refusing to adjust Plaintiffs insurance claim i n a

          fair or reasonable manner;

                                  c.    withholding payment of indemnification for Plaintiffs loss

          without having or communicating a reasonable basis for such action;

                                  d.    forcing Plaintiff to file a lawsuit to receive policy benefits;

                                  e.    unreasonably delaying payment for Plaintiffs loss; and

                                  f.    refusing to fully indemnify Plaintiff for his covered loss

          pursuant to the terms of the insurance contract.

                      36.         RLI's refusal to act i n good faith or deal fairly with Plaintiff

          constitutes a breach of the insurance contract.

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                    37.          It was foreseeable to RLI that Plaintiff would suffer additional

        damage, including incurring additional expenses and loss of use, as a

        consequence of RLI's breach of the duty of good faith and fair dealing.

                    38.          RLI failed to make payment, refused to make payment, and delayed

        payment for the loss to Plaintiffs motor home, i n violation of the insurance

        policy, thus causing damage to Plaintiff.

                    39.          Plaintiff suffered consequential damages as a result of RLI's breach

        of the insurance policy, including, b u t not limited to, incurring additional costs

        to store the motor home, additional loss of use of the motor home that would

        not have occurred had RLI fully and promptly indemnified Plaintiff for his loss,

         and the cost to repair additional damage that the motor home has sustained

         due to exposure to the elements and lack of regular and routine maintenance.

                     40.         As a result of RLI's breach of the insurance contract, Plaintiff has

         sustained actual and consequential damages i n an amount to be proven at

         trial.

                     41.         Plaintiff is entitled to recover his attorney fees pursuant to

         ORS 742.061.
                                               THIRD CLAIM FOR R E L I E F

                                          (Strict Liability for Product Defects)

                                       (Against Defendants Tiffin Motor Homes, Inc.,
                                        Command Electronics, Inc. and B. Young RV)
                     42.         Plaintiff restates and incorporates herein by reference the

         allegations set forth i n paragraphs 1-41 above.

                     43.         The LED light display installed i n the motor home was defectively

          designed, inspected, tested, manufactured and installed i n an unreasonably

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            dangerous condition at the time i t left the control of Command, Tiffin, and

            Young.

                       44.         The condition of the LED light display at the time of the Fire was

            intended to be, and was, substantially the same as when i t left the hands of

            Tiffin, Command, and Young.

                       45.         The LED light display was defectively designed, inspected, tested,

            manufactured and installed because:

                                    a.     i t was unsafe when used i n the manner promoted by

            Command, Tiffin, and Young and i n a manner reasonably foreseeable by them;

                                    b.     the risks of danger i n the design, inspection, testing,

            manufacturing and installation outweigh the benefits of i t ;

                                    c.     it failed to perform as safely as an ordinary consumer would

            expect when used i n the manner promoted by Command, Tiffin, and Young;

            and

                                    d.     it was designed, inspected, tested, manufactured and

            installed i n a way that caused a substantial risk of fire and personal injury i n

            the motor home.

                        46.         Plaintiff was using the LED light display i n a manner intended and

            reasonably foreseeable to Command, Tiffin, and Young.

                        47.          Plaintiff was not aware of the defects i n the LED light display at

            any time prior to the Fire.

                        48.         The foreseeable risks of harm to Plaintiff and Plaintiffs motor home

            could have been reduced or avoided by adopting a reasonable alternative

            design.
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                            49.                The defective design, inspection, testing, manufacturing and

          installation of the LED light display was the factual and proximate cause of the

          damage to Plaintiffs motor home.

                            50.                As a result of the defective design, inspection, testing,

          manufacturing and installation, Plaintiff has sustained general and special

          damages i n an amount to be proven at trial.

                                                                FOURTH CLAIM FOR R E L I E F

                                                             (Strict Liability for Failure to Warn)

                                                          (Against Defendants Tiffin Motor Homes, Inc.,
                                                          Command Electronics, Inc. and B. Young RV)
                            51.                 Plaintiff restates and incorporates herein by reference the

          allegations set forth i n paragraphs 1-50 above.

                             52.                Command, Tiffin, and Young knew or reasonably should have

          known about the defects i n the LED light display at the time i t left their

          control.

                             53.                 Command, Tiffin, and Young are strictly liable i n failing to warn

          Plaintiff that the LED light display posed an unreasonable risk of fire and

          personal injury i n the motor home.

                             54.                 Command, Tiffin, and Young had an ongoing and continuing

          obligation to warn Plaintiff about the dangers arising f r o m the LED light

          display, and the Defendants failed to so warn.

                             55.                 Command, Tiffin, and Young also had a new and independent

          obligation to warn Plaintiff about the dangers arising from the LED light

          display after Plaintiff brought the motor home i n for repairs, and the

          Defendants failed to so warn.

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                        56.           Command, Tiffin, and Young's failure to warn was the factual and

            proximate cause of Plaintiffs injuries and damage.

                        57.           As a result of Command, Tiffin, and Young's failure to warn,

            Plaintiff has sustained general and special damages i n an amount to be proven

            at trial.

                                                     F I F T H CLAIM FOR R E L I E F

                                                              (Negligence)

                                              (Against Defendants Tiffin Motor Homes, Inc.,
                                              Command Electronics, Inc. and B. Young RV)
                         58.          Plaintiff restates and incorporates herein by reference the

            allegations set forth i n paragraphs 1-57 above.

                         59.          Command, Tiffin, and Young had a duty to protect Plaintiff from

            unreasonable risk of harm f r o m the LED light display.

                         60.          Command, Tiffin, and Young were negligent in:

                                      a.      defectively designing, inspecting, testing, manufacturing and

            installing the LED light display; and/or

                                      b.      failing to warn Plaintiff that the LED light display posed an

            unreasonable risk of fire and personal injury i n the motor home.

                         61.          The negligence of Command, Tiffin, and Young arose at the time

            the Plaintiff purchased the motor home and thereafter on a continuing basis up

            to and including the date of the Fire.

                         62.          The negligence of Command, Tiffin, and Young also separately

            arose at the time the Plaintiff sought repairs to the motor home.

                         63.           Command, Tiffin, and Young's negligence was the factual and

            proximate cause of Plaintiffs injuries and damage.

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                    64.          As a result of Command, Tiffin, and Young's negligence, Plaintiff

        has sustained general and special damages i n an amount to be proven at trial.

                                              S I X T H CLAIM FOR R E L I E F

                           (Violation of the Oregon Unfair Trade Practices Act (UTPA))

                                      (Against Defendants Tiffin Motor Homes, Inc.,
                                       Command Electronics, Inc. and B. Young RV)
                    65.          Plaintiff restates and incorporates herein by reference the

        allegations set forth i n paragraphs 1-64 above.

                    66.          The conduct of Command, Tiffin, and Young described herein

         constitutes a violation of the Oregon Unfair Trade Practices Act (UTPA),

         including a violation of ORS 646.608(l)(u).

                     67.         As a result of the violation of the Oregon UTPA by Command,

         Tiffin, and Young, Plaintiff sustained an ascertainable loss i n an amount to be

         proven at trial.

                     68.         Upon information and belief, Command, Tiffin, and Young willfully

         violated the Oregon UTPA as the term "willful" is defined i n ORS 646.605(10).

                     69.         Plaintiff has a right to recover his attorney fees, costs,

         disbursements, and punitive damages pursuant to ORS 646.638.
                                                IV. PRAYER FOR R E L I E F

                     WHEREFORE, Plaintiff Craig Lowenberg prays for the following relief:

                      1.         Judgment against each of the Defendants and i n favor of Plaintiff

         on all claims for relief stated herein:

                     2.          On Plaintiffs First and Second Claims for Relief for actual and

          consequential damages according to the proof at the time of trial, and for

          attorney fees, costs, and disbursements pursuant to ORS 742.061;

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                              3.                   On Plaintiffs Third, Fourth and Fifth Claims for Relief for special

         and general damages according to proof at the time of trial, and exemplary or

         punitive damages i n equity or as otherwise permitted by law;

                              4.                   On Plaintiffs Sixth Claim for Relief for compensatory or statutory

         damages according to proof at the time of trial, punitive damages pursuant to

         ORS 646.638, together with other costs and reasonable attorney fees pursuant

         to ORS 646.638;

                              5.                   On all of Plaintiffs claims for pre-judgment and post-judgment

         interest;

                              6.                   On all of Plaintiffs claims for Plaintiffs costs, disbursements, and

          attorney fees as permitted by equity or otherwise under Oregon law; and

                              7.                   Such other and further relief as the Court deems j u s t and

          equitable.

                                         DATED: February 6, 2015

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